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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 15-cv-61446-BLOOM/Valle

 CIRCUITRONIX, LLC,
 a Florida limited liability company,

        Plaintiff,

 v.

 SUNNY KAPOOR,
 an individual

       Defendant.
 ___________________________________/

 SUNNY KAPOOR,
 an individual

        Counter-Plaintiff,

 v.

 RISHI KUKREJA,
 an individual, and

 CIRCUITRONIX, LLC,
 a Florida limited liability company

       Counter-Defendants.
 ___________________________________/

                      CORPORATE DISCLOSURE STATEMENT FOR
                          PLAINTIFF CIRCUITRONIX, LLC

        Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Circuitronix, LLC

 (“Circuitronix”) hereby states that Circuitronix has no parent corporation and that no publicly held

 corporation owns 10% or more of Circuitronix’s stock.

                                           Respectfully submitted
                                          KOZYAK TROPIN & THROCKMORTON, LLP
                                          Counsel for Circuitronix, LLC
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

 Notices of Electronic Filing generated by CM/ECF on August 20, 2015 as filed with the Clerk of the

 Court using CM/ECF.


                                              By: /s/ James M. Slater
                                                  James M. Slater

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